                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN
                              GREEN BAY DIVISION


DUSTIN S. SOULEK, individually,
and as representative of a Class of
Participants and Beneficiaries, of
the Costco 401(k) Retirement Plan;

            Plaintiff,                        Case No. 20-cv-937

      v.

COSTCO WHOLESALE CORPORATION, et al.


            Defendants




     PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
        PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT




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                               I.     INTRODUCTION

    Plaintiff Dustin S. Soulek, individually, and as representative of a Class of Par-

ticipants and Beneficiaries of the Costco 401(k) Retirement Plan (“Plaintiff”), submits

this Memorandum in support of his Motion for Preliminary Approval of the Class

Action Settlement with Defendants Costco Wholesale Corporation (“Costco”), the

Board of Directors of Costco Wholesale Corporation (“Board Defendants”), and the

Costco Benefits Committee (“Benefits Committee”) (collectively, “Defendants”), relat-

ing to the management of the Costco 401(k) Retirement Plan (“Costco Plan” or

“Plan”).1

    Under the terms of the proposed Settlement, a Total Settlement Amount with a

value not to exceed $5.1 million will be paid to resolve the Settlement Class Members’

claims. This is a significant recovery in relation to the claims that were alleged and

falls well within the range of negotiated settlements in similar ERISA cases.

    For the reasons set forth below, the Settlement is fair, reasonable, and adequate,

and merits preliminary approval so that notice may be disseminated to the Class.

Among other things:

    •   The Settlement was negotiated at arm’s length with the assistance of a re-
        spected mediator;

    •   The Settlement provides for significant monetary relief that is on par with
        other settlements;

    •   The Settlement conveniently provides for administrative fee reduction for
        current Plan Participants, which will allow delivery of Settlement value to



1 A copy of the Class Action Settlement Agreement (“Settlement” or “Settlement Agreement”)
is attached as Exhibit A to the accompanying Declaration of Paul M. Secunda (“Secunda
Decl.”).
                                            1

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       those Class Members who are Current Participants with minimal adminis-
       trative expense. Class Members who are Former Participants will receive any
       distribution to which they are entitled via check;

   •   The Released Claims are tailored to the claims that were asserted in the action
       or could have been asserted based on the same factual predicate;

   •   The proposed Settlement Class is consistent with the requirements of Rule 23;

   •   The proposed Settlement Notices provide substantial information to Class
       Members about the Settlement, and will be distributed via first-class mail or
       email; and

   •   The Settlement provides Class Members the opportunity to raise any objections
       they may have to the Settlement and to appear at the final approval hearing.
   Accordingly, Plaintiff respectfully requests that the Court enter an order: (1) pre-

liminarily approving the Settlement; (2) approving the proposed Notices and author-

izing distribution of the Notices to the Settlement Class; (3) certifying the proposed

Settlement Class; (4) scheduling a final approval hearing; and (5) granting such other

relief as set forth in the accompanying Preliminary Approval Order. Defendants join

in the relief requested by Plaintiff’s Motion for Preliminary Approval of Settlement.

However, Defendants do not agree with the averments, statements, allegations, and

claims stated by Plaintiff in this Memorandum of Law in Support of the Motion for

Preliminary Approval of Settlement and the attached Exhibits.

                               II.    BACKGROUND

       A.    THE PLEADINGS

   Plaintiff Dustin S. Soulek, individually, and as representative of a Class of Par-

ticipants and Beneficiaries of the Costco 401(k) Retirement Plan (“Plaintiff”), filed

this action on June 23, 2020, Dkt. 1 , and filed an Amended Complaint on September




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21, 2020. Dkt. 20. In his Amended Complaint, Plaintiff alleges that during the puta-

tive Class Period (June 23, 2014 through the date of judgment), Defendants, as fidu-

ciaries of the Plan, breached the duties they owed to the Plan, to Plaintiff, and to the

other Participants of the Plan by, among other things: (1) authorizing the Plan to pay

objectively unreasonable fees for recordkeeping and administration (RK&A); (2) fail-

ing to objectively, reasonably, and adequately review the Plan’s investment portfolio

with due care to ensure that each investment share class was prudent, in terms of

cost; and (3) maintaining certain funds in the Plan despite the availability of identical

or similar investment share classes with lower costs. Id.

   On October 16, 2020, Defendants filed a motion to dismiss the Amended Com-

plaint, Dkts. 25-27, and between November 6, 2020 and December 4, 2020, Plaintiff

subsequently opposed that motion, Dkts. 28-29, Defendants replied in further support

of their motion, Dkt. 30, Plaintiff surreplied in further opposition, Dkt. 31, and De-

fendants respond in opposition to Plaintiff’s surreply. Dkt. 32. The Court heard oral

argument on Defendants’ motion on December 21, 2020. Dkt. 33. Between June 1,

2021 and July 29, 2021, the parties filed notices of supplemental authority. Dkts. 35-

39. On September 30, 2021, the Court stayed the case in light of the pending decision

of the United States Supreme Court in Hughes v. Northwestern Univ., 142 S. Ct. 737

(2022). While this stay was in place, the parties decided to attempt mediation of the

matter.




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   B.      MEDIATION AND SETTLEMENT

   The Parties engaged in a full-day mediation with a neutral mediator, Robert

Meyer, on January 12, 2022.2 Secunda Decl. ¶ 10. After extensive, arm’s length nego-

tiations, including weeks of negotiations between the Parties after the mediation con-

cluded, the Parties reached a Memorandum of Understanding as to Settlement of All

Claims on February 17, 2022, and then prepared the comprehensive Settlement

Agreement that is the subject of this motion. Id. ¶¶ 12-13.

                        III.   OVERVIEW OF SETTLEMENT TERMS

   A.      The Settlement Class

   The Settlement applies to the following Settlement Class:

        All participants, beneficiaries, and alternate payees of the Costco 401(k)
        Retirement Plan (excluding the Defendants or any participant/benefi-
        ciary who is a fiduciary to the Plan): (1) who have a Plan account as of
        the date the Settlement Class is certified by the Court (“Current Partic-
        ipants”) or (2) who do not have a Plan account as of the date the Settle-
        ment Class is certified by the Court, and had a Plan account on or af-
        ter the last business day of a month on and after May 30, 2014, provided
        that such Plan account attained a balance in excess of $1000 for at least
        12 months beginning on and after May 30, 2014 (such balance to be cal-
        culated as of the last business day of a month) (“Former Participants).

Settlement ¶ 2.32. There are approximately 250,000 Settlement Class Members.

Secunda Decl. ¶ 3.

   B.      Monetary Relief

        Under the Settlement, for those Settlement Class Members who are Current

Participants with active accounts in the Plan as of the date the Settlement becomes



2 Mr. Meyer is an experienced mediator who has successfully facilitated the resolution of

numerous complex class actions, including ERISA class actions. Secunda Decl. ¶ 10 & Ex. B.

                                            4

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Final, Costco will provide an administrative fee reduction valued at a maximum of

$3.2 million. Costco will do so by ensuring that the Plan Administrative Service

per capita recordkeeping fee deducted from Plan accounts does not exceed $3.25

per Plan account per quarter during the number of calendar quarters following the

Effective Date necessary to reach the sum of $3.2 million. Settlement ¶¶ 5.1-5.4.

   For those Class Members who are Former Participants, as well as those who are

Current Participants who cease to have active accounts in the Plan prior to the date

the Settlement becomes Final, Costco will also provide the gross sum of $400,000

(the “Former Participant Pool”). Id.¶ 6.4. After accounting for any Attorneys’ Fees

and Costs, Administrative Expenses, and class representative service awards ap-

proved by the Court, the Net Settlement Amount will be distributed to eligible Class

Members on a claims-made basis. Id. ¶ 7.1. 3

   The Plan of Allocation is set out in the Settlement Agreement, and will be sub-

mitted to the Court for approval in connection with Final Approval of the Settlement.

Settlement ¶¶ 7.3-7.4. Class Counsel shall retain the Settlement Administrator to

calculate the amounts payable to Former Participants. Id. ¶ 2.30.

   C.       Release of Claims

   In exchange for the foregoing relief, the Settlement Class will release Defendants

and affiliated persons and entities (the “Released Parties” as defined in the Settle-

ment) from all claims:




3 Under no circumstances will any monies revert to Defendants. Any checks that are un-

cashed will be paid into the Plan for the purpose of defraying administrative expenses. Id. ¶
7.3.11.
                                             5

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        Involving any and all actual or potential claims, actions, demands,
        rights, obligations, liabilities, damages, attorneys' fees, expenses, costs,
        and causes of action, whether arising under local, state, or federal law,
        whether by statute, contract, common law, equity, or otherwise, whether
        brought in an individual, representative, or any other capacity, whether
        involving legal equitable, injunctive, declarative, or any other type of
        relief (including, without limitation, indemnification or contribution),
        whether, known or unknown, suspected or unsuspected, asserted or un-
        asserted, foreseen or unforeseen, actual or contingent, liquidated or
        unliquidated, that have been, could have been, or could be brought by or
        on behalf of all or any Settlement Class Member or the Plan at any point
        prior to the Court's final approval of the Settlement, and that were as-
        serted in the Lawsuit or that might have been asserted in the Lawsuit
        under any legal or equitable basis related in any way to the Plan, that
        relate in any way to the fees, expenses, investments, investment perfor-
        mance and or management of the Plan, that assert a claim for breach of
        fiduciary duty against any Plan fiduciary, that relate to the compensa-
        tion or services of any Plan service provider or Plan fiduciary, or that
        relate to or arise out of the defense or settlement of the Lawsuit, includ-
        ing any claim that the Settlement Agreement or any aspect of its imple-
        mentation violates any applicable law or right of any Settlement Class
        Member, or that would have been barred by the doctrine of res judicata
        or claim preclusion had the Lawsuit been fully litigated to a final judg-
        ment.

Id. ¶ 2.27. The Released Claims do not include claims to enforce the Settlement Agree-

ment. Id. ¶ 9.2.

   D.      Class Notice and Settlement Administration

   Due to the size of the class (in excess of 200,000 people) and in order to minimize

administrative costs, distribution of the Class Notice will be handled differently for

Current Participants and Former Participants. Former Participant Class Members

will receive notice of the settlement via first-class U.S. Mail or email. Id. ¶ 3.4.5, &

Ex. 3. Current Participant Class Members will receive notice via email or other elec-

tronic means if they have an email or cell phone number on file with the Plan’s record-

keeper. Id. ¶ 3.4.4. All expenses related to providing Class Notice to Current Plan


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Participants will be paid by Costco. Id. ¶ 3.4.7. All expenses related to Class Notice

to Former Participants shall be paid out of the Former Participant Pool and arranged

by Class Counsel. Id.

   To the extent that Class Members would like more information, the Settlement

Administrator4 will establish a Settlement Website on which it will post the Settle-

ment Agreement, Notices, and relevant case documents, including the Complaint and

a copy of all Court orders related to the Settlement. Settlement ¶¶ 3.41-3.43 and Exs.

2, 3. The Settlement Administrator also will establish a toll-free telephone line that

will provide the option of speaking with a live operator if callers have questions. Id.

   E.      Attorneys’ Fees and Administrative Expenses

   The Settlement requires that Class Counsel file their Motion for Attorneys’ Fees

and Costs at least 30 calendar days prior to the final fairness hearing, and more than

two weeks before the Independent Fiduciary files its report. Id. ¶ 8.3. Under the Set-

tlement, the requested fees may not exceed $1.5 million dollars. Id. ¶ 8.4. In addition,

the Settlement provides for recovery of Administrative Expenses related to the Set-

tlement, and for a service award up to $10,000 for the Class Representative. Id ¶¶

8.1-8.2.

   F.      Review by Independent Fiduciary

   As required under ERISA, Defendants will retain an Independent Fiduciary to

review and authorize the Settlement on behalf of the Plan. Id. ¶¶ 3.1.1-3.1.6; see also




4 Analytics Consulting, LLC has been selected as the Settlement Administrator, and has ex-

tensive experience administering similar ERISA class action settlements. Settlement 2.30;
Secunda Decl. ¶ 30 & Ex. C.
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Prohibited Transaction Exemption 2003-39, 68 Fed. Reg. 75632, as amended, 75 Fed.

Reg. 33830. The Independent Fiduciary will issue its report at least 28 days before

the final Fairness Hearing, Settlement ¶ 3.1.3, so it may be considered by the Court.

                                   IV.   ARGUMENT

   A.         Standard of Review

   Rule 23(e) of the Federal Rules of Civil Procedure requires judicial approval of any

settlement agreement that will bind absent class members. This involves a two-step

process. See MANUAL FOR COMPLEX LITIGATION §§ 21.61–.63, at 308–23 (4th ed. 2004).

First, counsel submit the proposed settlement terms to the court, and the court makes

a preliminary fairness evaluation. Id. § 21.632. Second, following preliminary ap-

proval, class members are provided notice of a fairness hearing, at which time argu-

ments and evidence may be presented in support of, or opposition to, the settlement.

Id. §§ 21.633–.634.

   In 2018, Rule 23 was amended to specify uniform standards for settlement ap-

proval. See Fed. R. Civ. P. 23(e) advisory cmte note (2018). The amended rule states

that, at the preliminary approval stage, the court must determine whether it “will

likely be able” to approve the proposal. Fed. R. Civ. P. 23(e)(1)(B). Rule 23(e)(2), in

turn, specifies the following factors the court should consider at the final approval

stage in determining whether a settlement should be approved:

        (A)     the class representatives and class counsel have adequately repre-
                sented the class;
        (B)     the proposal was negotiated at arm’s length;
        (C)     the relief provided for the class is adequate, taking into account:
                (i)    the costs, risks, and delay of trial and appeal;
                (ii)   the effectiveness of any proposed method of distributing relief to
                       the class;

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                  (iii)  the terms of any proposed award of attorney’s fees; and
                  (iv)   any agreement required to be identified under Rule
                         23(e)(3); and
         (D)      the proposal treats class members equitably relative to each
                  other.

Fed. R. Civ. P. 23(e)(2).5

    At this stage, the proposed agreement is viewed “in a light most favorable to set-

tlement.” Isby v. Bayh, 75 F.3d 1191, 1199 (7th Cir. 1996); Martin v. Caterpillar, Inc.,

2010 WL 3210448, at *2 (C.D. Ill. Aug. 12, 2010). The ultimate fairness determination

is left for final approval, after class members receive notice of the settlement and

have an opportunity to be heard. For the reasons that follow, this Court should grant

preliminary approval of the Settlement and authorize notice to the Settlement Class.

     V.         THE SETTLEMENT MEETS THE STANDARD FOR PRELIMINARY APPROVAL

    A.         The Class Is Adequately Represented

         The record reflects that the Class is adequately represented. Class Counsel

are experienced ERISA litigators with a proven track record. See Secunda Decl. ¶¶

14-29. The named Plaintiff is also an adequate class representative, who has dili-

gently pursued this action on behalf of the Class after acknowledging his duties as

class representatives. See Soulek Decl. ¶¶ 2–3.


5 Prior to the 2018 Rule 23(e) amendments, the Seventh Circuit required district courts to
consider “the strength of plaintiffs’ case compared to the amount of defendants’ settlement
offer, an assessment of the likely complexity, length and expense of the litigation, an evalu-
ation of the amount of opposition to settlement among affected parties, the opinion of compe-
tent counsel, and the stage of the proceedings and the amount of discovery completed at the
time of settlement.” Synfuel Techs., Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 653 (7th
Cir. 2006) (quoting Isby, 75 F.3d at 1199). Because these factors “overlap,” they are consid-
ered together with the Rule 23(e)(2) factors below. See Hale v. State Farm Mut. Auto. Ins.
Co., 2018 WL 6606079, at *2 (S.D. Ill. Dec. 16, 2018); In re NCAA Student-Athlete Concussion
Injury Litig., 332 F.R.D. 202, 217 (N.D. Ill. 2019), aff’d sub nom. Walker v. NCAA, 2019 WL
8058082 (7th Cir. Oct. 25, 2019).
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   B.     The Proposal Was Negotiated at Arm’s-Length

   Where experienced counsel has negotiated a settlement at arm’s-length, with the

help of an experienced mediator, a strong initial presumption is created that the com-

promise is fair. See Eubank v. Pella Corp., 2019 WL 1227832, at *3 (N.D. Ill. Mar. 15,

2019); Hale, 2018 WL 6606079, at *3. That is exactly the situation here: The settle-

ment negotiations took place in the context of an arm’s length mediation session be-

fore an experienced and impartial mediator. See Secunda Decl. ¶ 10 & Ex. B.

   As noted above, Class Counsel are experienced litigators who serve as class coun-

sel in ERISA actions involving defined-contribution plans. Further, the settlement

negotiations took place in the context of an arm’s length mediation session before an

experienced and impartial mediator. See Secunda Decl. ¶ 10 & Ex. B. “[T]he stage of

the proceedings and the amount of discovery completed at the time of settlement,”

and “the opinion of experienced counsel” are also pertinent to the Court’s review.

Synfuel Techs., Inc., 463 F.3d at 653. Relevant here: (1) Class Counsel undertook an

extensive investigation of the factual and legal bases for Plaintiff’s claims prior to

commencing the action, Secunda Decl. ¶ 8 ; (2) the Parties’ legal positions were staked

out in connection with the motion to dismiss, id. ¶ 9; and (3) Class Counsel had the

necessary experience and qualifications to evaluate the Parties’ legal positions and

the early discovery that was produced, id. ¶¶ 14–29. These circumstances further fa-

vor approval of the Settlement. See Wong v. Accretive Health, Inc., 773 F.3d 859, 864

(7th Cir. 2014) (noting that, “although formal discovery had not commenced, [plain-

tiffs] had access to extensive public documents,” and settlement was reached “after

an arm’s-length negotiation where the parties’ positions on liability and damages
                                          10

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were extensively briefed and debated” before an experienced mediator); Dolins v.

Cont’l Cas. Co., No. 1:16-cv-08898, Dkt. 133, at *5 (N.D. Ill. Sept. 20, 2018) (“The

negotiations were supported by a robust investigation before commencement of the

Lawsuit; the production and review of confidential documents … during mediation

discovery; and extensive legal and factual research on the issues in the case.”)

   C.     The Settlement Terms Are Fair and Adequate

          1.     The Monetary and Prospective Relief Is Significant

   The product of these serious and informed negotiations is a Settlement that pro-

vides significant benefits to the class.

   The negotiated relief represents a significant portion of the alleged losses sus-

tained by the Plan. For purposes of mediation, Plaintiff estimated that the total re-

tirement plan fees (RPS) exceeded a reasonable amount by $30 million. Secunda Decl.

¶ 4. Based on this estimate, the $5.1 million recovery represents over 16% of the al-

legedly excessive RPS fees. Id. This is on par with numerous other ERISA class action

settlements that have been approved across the country.6




6 See, e.g., Toomey v. Demoulas Super Markets, Inc., No. 1:19-cv-11633, Dkt. 95 at 10 (Mar.

24, 2021), approved Dkt. 100 (D. Mass. Apr. 7, 2021) (approving settlement that represented
approximately 15–20% of alleged losses); Beach v. JPMorgan Chase Bank, Nat’l Ass’n, No.
17-cv-00563, Dkt. 211 (May 20, 2020), approved 2020 WL 6114545, at *1 (S.D.N.Y. Oct. 7,
2020) (16% of alleged losses); Price v. Eaton Vance Corp., No. 18-12098, Dkt. 32 at 12 (May
6, 2019), approved Dkt. 57 (D. Mass. Sept. 24, 2019) (23% alleged losses); Sims v. BB&T
Corp., 2019 WL 1995314, at *5 (M.D.N.C. May 6, 2019) (19% of estimated losses); Urakhchin
v. Allianz Asset Mgmt. of Am., L.P., 2018 WL 8334858 (C.D. Cal. July 30, 2018) (25% of
estimated losses); Johnson v. Fujitsu Tech. & Bus. of Am., Inc., 2018 WL 2183253, at *6–7
(N.D. Cal. May 11, 2018) (approximately 10% of losses under Plaintiffs’ highest model); see
also In re Rite Aid Corp. Sec. Litig., 146 F. Supp. 2d 706, 715 (E.D. Pa. 2001) (since 1995,
class action settlements have typically “recovered between 5.5% and 6.2% of the class mem-
bers’ estimated losses”.)

                                            11

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            2.        The Risks, Costs, and Delay, of Further Litigation Were Significant

    In the absence of a settlement, Plaintiff and the Settlement Class would have

faced potential risks. At the time of settlement, Defendants’ motion to dismiss was

fully briefed and remained pending.7 In the event the motion was denied, there re-

mained a risk that the Court might have dismissed the claims on summary judgment.

If the case proceeded to trial, the Defendants still might have prevailed.8 Finally,

even if Plaintiffs prevailed on liability, issues regarding loss would have remained.

See Restatement (Third) of Trusts, § 100 cmt. b(1) (determination of investment

losses in breach of fiduciary duty cases is “difficult”.)

    At a minimum, continuing the litigation would have resulted in complex and

costly proceedings, and significantly delayed any relief to the Class. ERISA cases such

as this can extend up to a decade before final resolution, sometimes going through

multiple appeals.9 The duration of these cases is, in part, a function of their complex-

ity, which further weighs in favor of the Settlement. See Abbott v. Lockheed Martin

Corp., 2015 WL 4398475, at *2 (S.D. Ill. July 17, 2015) (noting that ERISA cases such

as this are “particularly complex”); Koerner v. Copenhaver, 2014 WL 5544051, at *4

(C.D. Ill. Nov. 3, 2014) (“The facts giving rise to Plaintiffs’ claims are complicated,


7Motions to dismiss have been granted in other ERISA class action cases in this circuit. See,
e.g., Albert v. Oshkosh Corp., 2021 WL 3932029 (E.D. Wis. Sept. 2, 2021), appeal filed (7th
Cir. October 1, 2021); Martin v. CareerBuilder, LLC, No. 19-cv-6463, 2020 WL 3578022 (N.D.
Ill. July 1, 2020).
8See, e.g., Rozo v. Principal Life Ins. Co., 2021 WL 1837539 (S.D. Iowa Apr. 8, 2021); Sacer-
dote v. New York Univ., 328 F. Supp. 3d 273 (S.D.N.Y. 2018), aff’d, 9 F.4th 95 (2d Cir. 2021);
Wildman v. Am. Century Servs., LLC, 362 F. Supp. 3d 685 (W.D. Mo. 2019).
9See, e.g., Spano v. Boeing Co., 2016 WL 3791123, at *1, 4 (S.D. Ill. Mar. 31, 2016) (9 years);
Abbott v. Lockheed Martin Corp., 2015 WL 4398475, at *1 (S.D. Ill. July 17, 2015) (8.5 years);
Beesley v. Int’l Paper Co., No. 3:06-cv-00703, Dkt. 559 (S.D. Ill. Jan. 31, 2014) (more than 7
years).
                                              12

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require the elucidation of experts, and are far from certain.”)

      None of this is to say that Plaintiff lacked confidence in his claims. However, given

the risks and costs of litigation, it was reasonable for Plaintiff to reach a settlement

on these terms. See Schulte v. Fifth Third Bank , 805 F. Supp. 2d 560, 582–83 (N.D.

Ill. 2011); accord Seiden v. Nicholson , 72 F.R.D. 201, 208 (N.D. Ill. 1976) (“If this case

had been litigated to conclusion, all that is certain is that plaintiffs would have spent

a large amount of money, time, and effort.”).

             3.    The Proposed Method of Distributing Relief to The Class Is Effective

      Consistent with numerous other ERISA settlements that have received court ap-

proval,10 Current Participants will receive an administrative fee reduction valued

at a maximum of $3.2 million, and Former Participants may elect to receive a check.

     See Settlement ¶¶ 5.2, 7.3 .10. This method of distribution is effective and efficient.

             4.    The Settlement Imposes a Reasonable Limitation on Attorney’s Fees

      The amount of any fee award is reserved to the Court in its discretion. See Settle-

ment ¶ 3.2.7. However, Class Counsel have agreed to limit their request to $1.5 mil-

lion which is slightly less than 30% of the settlement amount. Id. ¶8.1. This is less

than the amount typically awarded in complex ERISA cases such as this. See Bell v.

Pension Comm. of ATH Holding Co., 2019 WL 4193376, at *3 (S.D. Ind. Sept. 4, 2019)

(collecting cases).

             5.    No Separate Agreements Bear on the Adequacy of Relief to the Class

      There are no side agreements relating to the Settlement. As the Settlement


 See, e.g., Kinder v. Koch Indus., Inc., 2021 WL 3360130, at *1–2 (N.D. Ga. July 30, 2021);
10

Karpik v. Huntington Bancshares Inc., 2021 WL 757123, at *2 (S.D. Ohio Feb. 18, 2021);
Dolins v. Cont’l Cas. Co., No. 1:16-cv-08898, Dkt. 122-1 § 9 (N.D. Ill. Aug. 6, 2018).
                                             13

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plainly and expressly states, “[t]his Agreement and the attached Exhibits, incorpo-

rated herein by reference, constitute the entire agreement of the Parties with respect

to the subject matter hereof, and may not be amended, or any of their provisions

waived, except by a writing executed by all Parties hereto.” Settlement ¶ 14.11.

   D.         The Settlement Treats Class Members Equitably

   Finally, the Settlement also treats Class Members equitably. As noted above, the

Settlement Amount will be allocated among eligible Current Participants on a pro

rata basis in the form of an administrative fee reduction, the same allocation formula

is used to calculate settlement payments for all eligible Former Participants, and that

formula is tailored to the claims asserted in the case because the claims involved

excessive administrative fees. See Settlement ¶¶ 5.3 ; 7.3 Secunda Decl. ¶ 7 . This fur-

ther supports approval of the Settlement.

        VI.     THE CLASS NOTICE PLAN IS REASONABLE AND SHOULD BE APPROVED

   The Court also must ensure that notice is sent in a reasonable manner to all class

members who would be bound by the settlement. Fed. R. Civ. P. 23(e)(1). The “best

notice” practicable under the circumstances includes individual notice to all class

members who can be identified through reasonable effort. Fed. R. Civ. P. 23(c)(2)(B).

That is precisely the type of notice proposed here, as the Settlement Administrator

or Costco will individually send Settlement Notices of the Settlement to Class

Members. Settle-ment ¶ 3.4.1-3.4.7. This type of notice is presumptively reasonable.

See Phillips Pet-rol. Co. v. Shutts, 472 U.S. 797, 812 (1985); Snyder v. Ocwen Loan

Serv’g , 2019 WL 2103379, at *8 (N.D. Ill. May 14, 2019). Moreover, the content of

the Settlement Notices is reasonable, as they contain informational terms, the

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claims asserted in the action, the definition of the class, the scope of the class release,

the opportunity for Former Participants to receive benefits by check, the process for

making an objection, Class Members’ right to appear at the Fairness Hearing, and

the proposed attorneys’ fees, expenses, and service awards. See Settlement Exs. 2, 3.

   VII.    THE PROPOSED CLASS SHOULD BE CERTIFIED FOR SETTLEMENT PURPOSES

   Finally, this Court should certify the Settlement Class for settlement purposes.11

“ERISA class actions are commonly certified” under Rule 23 because ERISA breach

of fiduciary duty claims are brought on behalf the plan as a whole. Neil v. Zell, 275

F.R.D. 256, 267 (N.D. Ill. 2011). That is precisely the nature of this action. See Am.

Compl. (Dkt. 20) ¶ 35 (citing 29 U.S.C. §§ 1109, 1132(a)(2)).

   A.      The Proposed Settlement Class Satisfies Rule 23(a)

   Rule 23(a) of the Federal Rules of Civil Procedure sets forth four requirements

applicable to all class actions: (1) numerosity; (2) commonality; (3) typicality; and (4)

adequacy of representation. Amchem, 521 U.S. at 620. Each of these requirements is

met in this case.

   Numerosity. As noted above, there are approximately 250,000 Class Members. See

supra at Part III.A. This far exceeds the threshold for numerosity. See Neil, 275

F.R.D. at 260.

   Commonality. “[T]he commonality requirement is typically easily satisfied in

ERISA cases.” Shanechian v. Macy’s, Inc., 2011 WL 883659, at *3 (S.D. Ohio March

10, 2011); see also In re Glob. Crossing Sec. & ERISA Litig., 225 F.R.D. 436, 452


11 In the context of a settlement, class certification is more easily attained because the court

need not inquire whether a trial of the action would be manageable on a class-wide basis. See
Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 620 (1997).
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(S.D.N.Y. 2004) (“In general, the question of defendants’ liability for ERISA violations

is common to all class members because a breach of a fiduciary duty affects all par-

ticipants and beneficiaries.”). Here, as in other ERISA cases, there are common ques-

tions, such as (1) whether the Plans’ recordkeeping expenses were excessive; (2)

whether Defendants breached their fiduciary duties to the Plans; and (3) whether the

Plans suffered losses from the alleged fiduciary breaches. Accordingly, commonality

is satisfied. See, e.g., Neil, 275 F.R.D. at 260–61; Godfrey v. GreatBanc Tr. Co., 2021

WL 679068, at *4 (N.D. Ill. Feb. 21, 2021).

   Typicality. The typicality requirement “tend[s] to merge” with commonality. Gen.

Tel. Co. v. Falcon, 457 U.S. 147, 157 n.13 (1982). “A plaintiff’s claim is typical if it

arises from the same event or practice or course of conduct that gives rise to the claims

of other class members and is based on the same legal theory.” Godfrey, 2021 WL

679068, at *5. Typicality is satisfied here because “the named representatives’ ERISA

claims share the same ‘essential characteristics’ of the ‘claims of the class at large’ in

that they seek to (1) obtain recovery owed to the Plan[s] and (2) hold fiduciaries ac-

countable for breaching their duties.” Id. (citing Retired Chi. Police Ass’n v. City of

Chicago, 7 F.3d 584, 597 (7th Cir. 1993)).

   Adequacy. The adequate representation inquiry considers the adequacy of the

named plaintiff and class counsel. Gomez v. St. Vincent Health, Inc., 649 F.3d 583,

592 (7th Cir. 2011), as modified (Sept. 22, 2011). Both are adequate here for the rea-

sons noted above. See supra at Part V.A.

   The named Plaintiff has no known conflicts of interest with other Class Members,



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has assisted in pursuing the action (including by attending the mediation), and has

acknowledged his responsibilities as class representative. See Soulek Decl. ¶¶ 2–3.

This is sufficient to demonstrate adequacy. As a member of the Plan, his interests are

aligned with other class members. See Rush v. GreatBanc Tr. Co., 2021 WL 2453070,

at *7 (N.D. Ill. June 16, 2021); Godfrey, 2021 WL 679068, at *5–6.

        For their part, Class Counsel are experienced ERISA litigators. See supra at

Part V.A; Secunda Decl. ¶¶ 17–18. Thus, Class Counsel are also adequate to repre-

sent the Class.

   B.         The Proposed Class Satisfies Rule 23(b)(1)

   In addition to meeting the requirements of Rule 23(a), the proposed Class satisfies

Rule 23(b)(1). Under Rule 23(b)(1), a class may be certified if prosecution of separate

actions by individual class members would create a risk of:

        (A)      inconsistent or varying adjudications with respect to individual
                 class members that would establish incompatible standards of
                 conduct for the party opposing the class; or

        (B)      adjudications with respect to individual class members that, as a
                 practical matter, would be dispositive of the interests of the other
                 members not parties to the individual adjudications or would
                 substantially impair or impede their ability to protect their
                 interests[.]

Fed. R. Civ. P. 23(b)(1). The claims here plainly satisfy this test because they are

brought derivatively on behalf of the Plans under ERISA, see 29 U.S.C. §§ 1109 and

1132(a)(2), and the outcome will necessarily affect the participants in the Plan and

the Plan’s fiduciaries. See Godfrey, 2021 WL 679068, at *7. Indeed, courts have held

that “breach of fiduciary duty claims brought [under section 1132(a)(2)] are ‘paradig-

matic examples of claims appropriate for certification as a Rule 23(b)(1) class.’” Neil,


                                              17

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275 F.R.D. at 267–68 (collecting cases); In re Household Int’l, Inc. ERISA Litig., 2004

WL 7329911, at *2 (N.D. Ill. Nov. 22, 2004).12 This case is no exception.

                                 CONCLUSION

     For the foregoing reasons, Plaintiff respectfully requests that the Court: (1) pre-

liminarily approve the Parties’ Class Action Settlement Agreement; (2) approve the

proposed Settlement Notices and authorize distribution of the Notices to the Settle-

ment Class; (3) preliminarily certify the Settlement Class for settlement purposes;

(4) schedule a final approval hearing; and (5) enter the accompanying Preliminary

Approval Order.

Dated this 14th day of March, 2022                WALCHESKE & LUZI, LLC

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                                                  ATTORNEYS FOR PLAINTIFF




12The Advisory Committee Notes to Rule 23 expressly recognize that class certification is
appropriate under Rule 23(b)(1)(B) in “an action which charges a breach of trust by an inden-
ture trustee or other fiduciary similarly affecting the members of a large class of security
holders or other beneficiaries, and which requires an accounting or like measures to restore
the subject of the trust.” Fed. R. Civ. P. 23, Advisory Committee Note (1966).
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